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Attorneys for Defendant

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION

UNITED STATES OF AMERICA, ) Cause No. CR 03-103-BLG-JDS-01
)
Plaintiff, )
)
VS. )
) MOTION TO RENEW
MICHAEL ADRIAN LEE, ) HOLDING SENTENCING
) HEARING IN ABEYANCE;
Defendant. )
)

COMES NOW, the Defendant, by and through his attorneys of record, and pursuant to
the Court’s order for July 14, 2005, provides this motion to renew defendant’s motion to hold the
sentencing hearing in abeyance. Defendant files his status report simultaneously regarding
defendant’s pretrial diversion status.

Defendant filed his original motion to hold the sentencing hearing in abeyance on June 2,

2005. The Court granted said motion on July 14, 2005, and ordered that sentencing would be

Motion to Hold Sentencing in Abeyance, pe. f

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held in abeyance until January 16, 2006 and instructed the parties to file a status report regarding
defendant’s conduct on his pretrial diversion and stated that the “Defendant may also renew his
motion for abeyance at that time”. ( a copy of said ordered is attached as Exhibit 1 for the Court’s
convenience). The Defendant, on behalf of all parties herein, moves the Court to continue to
hold the sentencing hearing in abeyance for a minimum of eighteen (18) months, pending
Defendant’s performance of the terms and requirements of the pretrial diversion agreement.

The parties hereto shall continue tp file a status report with the Court every six (6) months
to advise the Court whether the deferral agreement is being complied with and whether the
matter should continue to be held in abeyance pending the completion terms of the pretrial
diversion agreement.

Said motion and status report has been agreed to by the United States attorney.

DATED this 13" day of January, 2006.

aw Taw Fitn, PS P.
GW Law Fim, PIS, Suite 480
2722 3

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CERTINICAS OF SERVICE
This is to certify that on this day of January, 2006, a copy of the forgoing

documents was duly served by first<la$S, postage prepaid, U.S. mail, upon the following:

William Mercer

U.S. Attorney’s Office
P.O. Box 1478
Billings, MT 59103

Motion to Hold Sentencing in Abeyance, pr. 2

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION
UNITED STATES OF AMERICA, ) Cause No. CR-03-103-BLG-JDS
Plaintiff,
Vv. ) ORDER
MICHAEL ADRIAN LEE, 5
Defendant.

_)

A hearing was held on the Defendant’s unopposed Motion to hold sentencing in this case
in abeyance pending his performance on pre-trial diversion. After consideration, IT IS HEREBY
ORDERED that the Defendant’s Motion (Doc. #63) is GRANTED.

IT IS FURTHER ORDERED that sentencing shall be held in abeyance in this case until
January 16, 2006 at which time the Parties shall file a joint status report regarding his conduct on
pre-trial diversion. Defendant may also renew his motion for abeyance at that time.

The Clerk of Court shall notify the Parties of the making of this Order.

DATED this “7 day of July, 2005.

CERTIFICATE OF MAILING Sich 9 A fatten)

on es that a COPY - AGEL SHANSTROM
of this order was mailed fo. __4, S- IS- 0% SENIQR U.S. DISTRICT JUDGE

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